       Schedule A-3                               Case 1:24-cv-00941-JKB Document 392-3 Filed 10/09/24 Page 1 of 1
                                                                              Roose




                                                                                                                        Currency -    Invoice Value
Category     Container #   HBL#       BL#                Cargo Description                       Insurers or Agents                                              Insured
                                                                                                                         see ROE     (May Change)


   1         TTNU4929609   NA     MEDUVD557090          noryl resin, polyethers                     AIG UK Ltd             USD                60,800.00 SHPP US LLC (SABIC)


   1        MSDU4578743    NA     MEDUVD556605          noryl resin, polyethers                     AIG UK Ltd             USD                55,063.00 SHPP US LLC (SABIC)

                                                  Used Household Goods and Personal
   1         HASU5007848          MAEU236822597                                               Chubb European Group SE      USD                83,354.85 Andrea Catalano
                                                               Effects




                                                                                      1                                                                         10/9/2024
